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                             UNITED STATES DISTRICT COURT
                              SOUTHERNDISTRICTOF OHIO
                                                                                 ..FILED
                                                                               TIME      ^-.,3-70-. ^.
                                     EASTERNDIVISION
                                                                                     AUG 2 7 202't

 UNITED STATES OF AMERICA,                            CASE NO.              RICHARDW. NAGEL,Clerk ofCourt
                                                                                  COLUMBUS, OHIO
                Plaintiff,                                               ^.'^</'-c^. -/.?^
        V.                                            JUDGE
                                                                            ^^s& <3^Vv^w-
 GARRETT NORVELL,
                                                      LNFQRMATION

                Defendant.                            18 U. S. C. §§ 2252(a)(4)(B) & (b)(2)

                                                      FORFEITUREALLEGATION


THE UNITED STATESATTORNEYCHARGES:

                                         COUNT ONE
                               (Possession of Child Pornography)
       1.      On or about February 17, 2022, in the Southern District of Ohio, the defendant,

GARRETT NORVELL,knowingly possessed matter, that is, a digital media device that

contained one or more visual depictions, the production of such visual depictions having

involved the use ofprepubescent minors engaging in sexually explicit conduct, as defined in 18

U. S. C. § 2256(2)(A), and such visual depictions being of such conduct, and such visual

depictions were mailed, shipped or transported using any means or facility of interstate or

foreign commerce.

       All in violation of 18 U. S. C. §§ 2252(a)(4)(B) and (b)(2).

                               FORFEITURE ALLEGATION

       2.      The allegations contained in Count One of this Information are realleged and

incorporated here for the purpose of alleging forfeitures to the United States of America pursuant

to 18U. S. C. § 2253.
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       3.    Upon conviction of the offense alleged in Count One of this Information, the

defendant, GARRETT NORVELL, shall forfeit to the United States:

             a.     all matter containing said visual depictions ofchild pornography and child
                    erotica, transported, mailed, shipped, and possessed in violation of 18
                    U. S. C. § 2252; and,

             b.     all property used and intended to be used to commit and to promote the
                    commission of such violation, including, but not limited to the following:

                    .   One MacBookPro Al 990, bearing Serial Number C02X20RMJOH6,
                        including its contents;
                    .   One iPad Pro A2228, bearing Serial Number DLXTT1C3HPJ4,
                        including its contents;
                    .   One Kingston 16 GB DTSE9 thumb drive, bearing Serial Number
                        FE4C6CD0049, including its contents; and
                    .   One iPhone XS Max, bearing Serial Number CR6CLOUVKPHG,
                        including its contents.

      Forfeiture notice in accordance with 18 U. S.C. §§ 2253(a)(l) and (3) and Rule 32.2
of the Federal Rules of Criminal Procedure.



                                           KENNETIIL. PARKER
                                           United States Attorney

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                                           EMILY CZERNIEJEWSKI (IL 6308829)
                                           HEATHER A. MILL (0100920)
                                           Assistant United States Attorneys
